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Case 7:16-cr-30026-MFU                Document 929 Filed 10/16/17                      Page 1 of 18          Pageid#:
                                                 6819

                                                                                                  CLERK'S OFFICE U.S. DIST. cOURT
                         IN THE UNITED STATES DISTRICT COURT                                             AT ROANOKE, VA
                                                                                                              FILED
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                  ROANOKE DIVISION

 UNITED STATES OF AMERICA,                               )
                                                         )
                                                         )     Case No. 7:16-cr-30026
                                                         )
 v.                                                      )
                                                         )
 MICHAEL JONES, et al.,                                  )
                                                         ) By: Michael F. Urbanski
          Defendants.                                    )     Chief United States District Judge


                                        MEMORANDUM OPINION

          This matter comes before the court on a motion for a judgment of acquittal under

 Federal Rule of Criminal Procedure 29. At the close of the government's evidence at trial,

 defendants Michael Dove and Terrance Browri moved the court for acquittal of Counts

 Three through Eight of the indictment on the basis of improper venue. ECF Nos. 849, 852. 1

 For the reasons set forth below, the court will GRANT Dove's and Brown's motions and

 disffiiss Counts Three through Eight WITHOUT PREJUDICE for improper venue.

                                                             I.

          This case involves alleged gang activity by members and associates of the Mad Stone

 Bloods ("MSB"). Count One of the indictment charges four defendants with conspiracy to



 1 In his motion for judgment of acquittal, Brown also moves for a judgment of acquittal for venue on Counts One and
 Two. Racketeering offenses under 18 U.S.C. § 1962 and drug conspiracy offenses under 21 U.S.C. § 846 are continuing
 offenses. See United States v. Umana, No 3:08CR134-RJC, 2009 WL 1443395, at *5 (W.D.N.C. May 20, 2009), affd,
 750 F.3d 320 (2014). As such, "an overt act within the district is sufficient for venue." United States v. Goldman, 750
 F.2d 1221, 1226 (4th Cir. 1984); see also United States v. Giovanelli, 747 F. Supp. 875, 884 (S.D.N.Y. 1985) (finding that
 with RICO charges, "venue may be properly laid in the district in which the conspiratorial agreement was formed or in
 any district in which an overt act in furtherance of the conspiracy was committed by~ of the conspirators" (emphasis
 added)). The government introduced sufficient evidence of acts in the Western District of Virginia in furtherance of the
 alleged RICO and drug conspiracies to send those counts to the jury. Accordingly, Brown's motion for acquittal
 concerning venue as to Counts One and Two is DENIED.
Case 7:16-cr-30026-MFU               Document 929 Filed 10/16/17                     Page 2 of 18         Pageid#:
                                                6820



 violate the Racketeer Influenced and Corrupt Organizations Act (RICO) in violation of 18

 U.S.C. § 1962(d). Count Two charges the same four defendants with drug conspiracy in

 violation of 21 U.S.C. § .846. Dove and Brown, in addition to facing the RICO and drug

 conspiracy counts, are charged with violent crime and flrearm offenses in Counts Three

 through Eight. Specifically, Brown and Dove are both named in Counts Three and Six,

 which charge assault in aid of racketeering in violation of 18 U.S.C. § 1959(a)(3) ("VICAR").

 Counts Four and Seven charge Dove with use of a flrearm during a crime of violence under

 18 U.S.C. § 924(c), and Counts Five and Eight charge Brown with§ 924(c) violations.

          Venue for Counts Three through Eight was the subject of significant pretrial

 litigation. On June 20, 2017, the court denied motions to dismiss those counts for improper

 venue. See Unitec;l States v. Jones, 7:16-cv-30026, 2017 WL 2670759 (W.D. Va. June 20,

 2017). That decision, however, was based solely on the facts alleged by the government

 pretrial. See United States v. Engle, 676 F.3d 405, 412 (4th Cir. 2012).

          Now that the government has presented its case, the procedural posture requires the

 court to consider all of the venue-related evidence presented by the government. Dove and

 Brown argue that the government has failed to establish venue in the Western District of

 Virginia on Counts Three through Eight, which violates their right to be tried where the

 crimes were committed. See U.S. Const. art. III,§ 2, cl. 3; U.S. Const. amend. VI; Fed. R.

 Crim. P. 18.2 The crimes alleged in Counts Three through Eight concern a robbery outside



 2 Although the motions for judgments of acquittal challenge venue for Counts Three through Eight, the primary focus in
 resolving these motions is whether venue is proper for Counts Three and Six, which are the § 1959(a) charges. If venue
 is proper for the§ 1959(a) charges, then venue will also be proper for the§ 924(c) charges in Counts Four, Five, Seven,
 and Eight. See United States v. Umana, 750 F.3d 320, 336 (4th Cir. 2014) (''Venue for§ 924(c) prosecutions is
 appropriate wherever the underlying crime of violence took place."). As noted, the crime of violence underlying the
 § 924(c) charges in Counts Four and Five is the§ 1959(a) charge in Count Three; likewise, the crime of violence


                                                           2
Case 7:16-cr-30026-MFU               Document 929 Filed 10/16/17                     Page 3 of 18          Pageid#:
                                                6821



 of the InkJunkeez tattoo parlor in Norfolk on July 26, 2013 and the shooting of O.J. on the

 streets of Norfolk during the course of an attempted robbery on August 1, 2013. As a result,

 Brown and Dove claim that the conduct giving rise to those charges occurred entirely in

 Norfolk, which is located in the Eastern District of Virginia. 28 U.S.C. § 127(a).

          The government argues that the issue of venue for Counts Three through Eight

 should be submitted to the jury because the government's evidence is sufficient to

 demonstrate that "Brown and Dove committed the two violent crimes at issue with the

 purpose of maintaining or increasing their position in the gang, and the MSB leaders ... who

 had authority over Dove and Brown and resided and operated in the Western District of

 Virginia." United States' Resp. ProofVenue, ECF No. 850, at 2.

          The parties' disagreement centers on the sufficiency of the government's evidence

 adduced in its case in chief. As explained below, a review of the government's evidence

 dictates that the government has failed to establish that venue properly lies in the Western

 District of Virginia for Counts Three through Eight.

                                                          II.

          Rule 29 requires the court to "enter a judgment of acquittal of any offense for which

 the evidence is insufficient to sustain a conviction." Fed. R. Crim. P. 29(a). While the jury

 remain:s the primary factfinder, "the trial judge still resolves elements of the offense in

 granting a Rule 29 motion in the absence of a jury verdict." Smith v. Massachusetts, 543 U.S.

 462, 468 (2005). As such, Rule 29 allows "a substantive determination" by the court "that

 the prosecution has failed to carry its [factual] burden." Id.

 underlying Counts Seven and Eight is the§ 1959(a) charge in Count Six. Therefore, if venue is proper for the§ 1959(a)
 charges in this case, the court must deny Dove's and Brown's ~otions to dismiss the § 19~9(a) charges as well as the
 § 924(c) charges in Counts Four, Five, Seven, and Eight of the indictment.


                                                           3
Case 7:16-cr-30026-MFU         Document 929 Filed 10/16/17            Page 4 of 18      Pageid#:
                                          6822



        Proper venue is a question of fact, and the government bears the burden of proof of

 establishing venue. United States v. Engle, 676 F.3d 405, 412 (4th Cir. 2012). Unlike other

 factual elements, venue "may be proven by mere preponderance of the evidence." Id.

 Circumstantial evidence may be sufficient to establish proper venue. Id. (citing United States

 v. Griley, 814 F.2d 967, 973 (4th Cir. 1987)). Because ofits factual nature, venue is ordinarily

 the province of the jury. Id. Like all other factual determinations at trial, however, venue is

 the proper subject of a Rule 29 motion. See United States v. Collins, 372 F.3d 629, 633 (4th

 Cir. 2004) ("[I] fan indictment properly alleges venue, but the proof at trial fails to support

 the venue allegation, an objection to venue can be raised at the close of evidence.").

        Under the applicable burden of proof for venue, a court must deny a Rule 29 motion

 challenging venue if, when viewing the evidence in the light most favorable to the

 government, a rational trier of fact could conclude that a preponderance of the evidence

 supports venue in the district in which the charges are brought. See Engle, 676 F.3d at 412

 (venue standard); United States v. Wilson, 118 F.3d 228, 234 (4th Cir. 1997) (Rule 29
                                                      ')



 standard). Put another way, if ~e prosecution has not established a prima facie case for

 venue by its own evidence, the court should grant the Rule 29 motion. See United States v.

 Hinderman, 625 F.2d 994, 996 (10th Cir. 1980) (per curiam) ("Rule 29(a), as it concerns a

 motion for acquittal at the close of the prosecution's case, implem~nts the 'requirement that

 the prosecution must establish a prima facie case by its own evidence before the defendant

 may be put to his defense."' (quoting Cephus v. United States, 324 F.2d 893, 895 (D.C. Cir.

 1963))); cf. United States v. Gugnani, 178 F. Supp. 2d 538, 542 (D. Md. 2002) (''When the

 Court denied the Rule 29 Motion, the Court believed that by construing the evidence in the



                                                 4
Case 7:16-cr-30026-MFU         Document 929 Filed 10/16/17               Page 5 of 18   Pageid#:
                                          6823



 light most favorable to the Government, a prima facie case as to all the defendants had been

 established."). If, however, "'there is a genuine issue of material fact with regard to proper

 venue,"' the court "must instruct the jury" to resolve that issue. Engle, 676 F.3d at 413

 (quoting United States v. Perez, 280 F.3d 318, 334 (3rd Cir. 2002)).

                                                A.
        As the court previously detailed, see United States v. Jones, 7:16-cv-30026, 2017 WL

 2670759, at *3 (W.D. Va. June 20, 2017), Article III of the Constitution mandates that "[t]he

 Trial of all Crimes ... shall be held in the State where the said Crimes shall have been

 committed." U.S. Const. art. III,§ 2, cl. 3. The Sixth Amendment further requires that

 criminal defendants be tried "by an impartial jury of the State and district wherein the crime

 shall have been committed." U.S. Const. amend. VI. Federal Rule of Criminal Procedure 18

 implements these constitutional venue rights: "[I]he government must prosecute an offense

 in a district where the offense was committed." Fed. R. Crim. P. 18.

        "The federal venue requirement protects criminal defendants from the inconvenience

 and prejudice of prosecution in a far-flung district bearing no connection to their offenses."

 Engle, 676 F.3d at 412 (citation and quotation omitted); see also United States v. Cabrales,
                                        I



 524 U.S. 1, 9 (1998) ("[I]he venue, requirement is principally a protection for the
                                                                     I
 defendant."). These constitutional provisions also "promote thorough factfinding" and are

 "best served by holding trial where '[t]he witnesses and relevant circumstances surrounding

 the contested issues' are located." United States v. Clines, 958 F.2d 578, 583-84 (4th Cir.

 1992) (alteration in original) (quoting Travis v. United States, 364 U.S. 631, 640 (1961)).




                                                 5
Case 7:16-cr-30026-MFU                 Document 929 Filed 10/16/17                       Page 6 of 18           Pageid#:
                                                  6824



          "While the venue rule-trial in the district where the crim~ is committed-seems

 straightforward, the place of the crime can be difficult to determine." United States v.

 Bowens, 224 F.3d 302, 308 (4th Cir. 2000). Absent an express directi6n from Congress

 otherwise, "the site of a charged offense must be determined from the nature of the crime

 alleged and the location of the act or acts constituting it." Cabrales, 524 U.S. at 5 (citations

 and quotations omitted). "In performing this inquiry, a court must initially identify the

 conduct constituting the offense (the nature of the crime) and then discern the location of

 the commission of the criminal acts." United States v. Rodriguez-Moreno, 526 U.S. 275, 279
   )
 (1999). In the Fourth Circuit, "the conduct constituting the offense is limited to essential

 conduct elements" of the offense. Bowens, 224 F.3d at 312. Elements that are not conduct

 elements are "circumstance elements," which, "even if essential, are of no moment to a

 venue determination." United States v. Oceanpro Indus., Ltd., 674 F.3d 323, 328 (4th Cir.

 2012) (citations and quotations omitted).

                                                             B.
          In United States v. Umana, the Fourth Circuit examined proper venue for§ 1959(a)

 offenses and held that venue properly lies not only where the violent crime was committed

 but also where the defendant conducted an act showing that the purpose of the crime was to

 further his position in a RICO enterprise. 3 750 F.3d 320, 333-36 (4th Cir. 2014). Much like

 Dove and Brown, Umana was charged with a RICO offense under§ 1962, two counts of

 violent crimes in aid of racketeering under§ 1959(a), and corresponding firearms offenses

 under§ 924(c). He was tried and convicted in Charlotte for the violent crimes he committed


 3 In its previous opinion regarding venue, the court laid out the relevant facts of Umana in detail. and will not repeat
 them here. See Jones, 2017 WL 2670759, at *3.


                                                              6
Case 7:16-cr-30026-MFU                Document 929 Filed 10/16/17                      Page 7 of 18          Pageid#:
                                                 6825



 in Greensboro. 4 On appeal, he argued that venue was improper for the§ 1959(a) offenses in

 Charlotte ·because his violent crimes took place in a district different than where he faced

 trial.

          In accordance with the framework governing venue outlined above, the Fourth

 Circuit addressed Umana's arguments by Erst identifying the elements of a§ 1959(a) offense:
                                                                     \
                (1) that there was an enterprise engaged in racketeering activity;
                (2) that the enterprise's activities affected interstate commerce;
                (3) that the defendant committed [a violent crime]; and
                (4) that the defendant, in committing [the violent crime], acted
                    in response to payment or a promise of payment by
                    the enterprise or "for the purpose of gaining entrance to or
                    maintaining or increasing position in an enterprise."

 Id. at 334-35. 5 Umana argued that the only conduct element of a§ 1959(a) offense is the
                                                                                                                         (
 commission of the violent crime.

          The Fourth Circuit disagreed. In rejecting Umana's position, the Court held that not

 only the third element, the commission of the violent crime, but also the fourth element-

 "for the purpose of ... maintaining or increasing position in an enterprise," or the

 "purpose" element-is a conduct element of a § 1959(a) offense. The Court reasoned that "a

 physical manifestation of purpose is necessary to ensure that the act-is actually carried out to

 further the enterprise's goals" and that the purpose element "requires a manifest quid pro

 quo between the member and the gang." Id. at 335. "At bottom, we hold that§ 1959(a)(1)

 includes as an element an objective, physical act that links the defendant with the enterprise




 4 Charlotte is in the Western District of North Carolina, and Greensboro is in the Middle District of North Carolina.
 s Umana was charged under§ 1959(a)(1) for murder in aid of racketeering. Dove and Brown are charged under§
 1959(a)(3) for assault in aid of racketeering.


                                                            7
Case 7:16-cr-30026-MFU         Document 929 Filed 10/16/17            Page 8 of 18     Pageid#:
                                          6826



 with respect to the underlying violent crime and that this element is a conduct element

 supporting venue." Id.

        Having determined that the purpose element of a§ 1959(a) offense requires an

 objective, physical act, the Fourth Circuit had litde trouble identifying Umana's actions in

 Charlotte that showed his purpose in committing the crimes. Most notably, Umana travelled

 back to Charlotte immediately after the murders and boasted to his fellow gang members

 about his crimes, demonstrating that he committed the murders for the purpose of

 furthering his position in the gang. Id. at 335-36. In light of the defendant's "objective,

 physical act" in the Western District of North Carolina related to the murders in

 Greensboro, the Qmana court held venue for the§ 1959(a) offenses and the corresponding

 § 924(c) offenses was proper in that district.

                                                  c.
        The Fourth Circuit has noted that the "inquiry into the place of the crime may yield

 more than one appropriate venue, or even a venue in which the defendant has never set

 foot." Bowens, 224 F.3d at 309 (citing 1,8 U.S.C. § 3237(a), the continuing offense venue

 statute); cf. United States v. Johnson, 323 U.S. 273, 275 (1944) ("By utilizing the doctrine of

 a continuing offense, Congress may, to be sure, provide that the locality of a crime shall

 extend over the whole area through which force propelled by an offender operates."). The

 continuing offense doctrine applies most broadly where "Congress defines the essential

 conduct elements of a crime in terms of their particular effects." Bowens, 224 F.3d at 313. In

 such a case, "venue will be proper where those proscribed effects are felt." Id.




                                                  8
Case 7:16-cr-30026-MFU         Document 929 Filed 10/16/17           Page 9 of 18       Pageid#:
                                          6827



        In Bowens, the Fourth Circuit examined whether harboring a fugitive in violation of

 18 U.S.C. § 1071 triggers such an effects test. Bowens was convicted in the Eastern District

 of Virginia, where the government had issued arrest warrants for the fugitives whom he

 concealed. Bowens argued on appeal that venue was improper because he never travelled

 into Virginia's Eastern District while harboring the fugitives. The government argued in

 response that venue for a§ 1071 prosecution should be proper in the district where the

 arrest warrant was issued, that is, where the effects of the criminal conduct were felt. The

 Fourth Circuit identified the only conduct element of a§ 1071 offense as the act of

 "harboring or concealing a person," and declined to apply the effects test because the

 element "is defined in the statute without reference to its effects." Id. at 313-14. Therefore,

 venue in the Eastern District of Virginia was improper for Bowen's § 1071 offenses.

        By contrast, the Fourth Circuit held in United States v. Oceanpro Industries, Ltd.,

 674 F.3d 323 (4th Cir. 2012), that the effects test does apply to the crime of giving false

 statements to federal law enforcement in violation of 18 U.S.C. § 1001. In Oceanpro, an

 employee of a seafood wholesaler located in Washington, D.C. made false statements to

 federal investigators in relation to a Maryland-based investigation. Despite having made the

 statements in Washington, the employee was tried in Maryland. The Fourth Circuit held that

 venue was proper in Maryland because "the essential conduct constituting the[§ 1001]

 offense inherently references the effects of that·conduct." Oceanpro, 674 F.3d at 329. The

 Court observed that Congress "defined the effects in§ 1001 to include the element of

 materiality. And in this case, proving materiality necessarily requires evidence of the

 existence of the federal investigation in Maryland and the potential effects of [the



                                                9
Case 7:16-cr-30026-MFU        Document 929 Filed 10/16/17             Page 10 of 18      Pageid#:
                                         6828



 employee's] statement on that investigation." Id. Unlike the harboring element at issue in

 Bowens, the materiality prong a§ 1001 offense indicates that the crime "continu[es] into the

 district in which the effects of the false statement are felt." Id. at 330 (quoting United States

 v. Salinas, 373 F.3d 161, 167 (1st Cir.2004)).

        In short, Umana identified the purpose element of a§ 1959(a) offense as a conduct

 element, but did not have to decide whether a defendant's physical act satisfying the purpose

 element must have occurred in the judicial district in which the defendant is tried. Oceanpro

 and Bowens teach that a defendant's presence in a district is not required if the statute at

 issue defines a conduct element in terms of its effects and those effects were felt in the

 district where the proceedings take place. If§ 1959(a) triggers the effects test outlined in

 Oceanpro and Bowens, and the government has propounded a prima facie case that the

 effects of the actions satisfying a§ 1959(a) conduct element were felt in the Western District

 of Virginia, then the court cannot grant a Rule 29 _!!lotion acquitting Brown and Dove on

 Counts Three through Eight for improper venue.

        In applying the forgoing principles to this case, it appears that the purpose element of

 a§ 1959(a) offense "inherently references the effects of that conduct." Oceanpro, 674 F.3d

 at 329. The purpose element defines the effects of a§ 1959(a) offense to include influencing

 the decisions of gang leaders with authority over membership and promotions. Thus,

 proving the § 1959(a) offenses in this case necessarily requires evidence of the effects of

 Dove and Brown's conduct on the decisions of MSB leaders who grant membership to and

 promotions within the gang. See Oceanpro, 674 F.3d at 329 (proving material false




                                                  10
Case 7:16-cr-30026-MFU        Document 929 Filed 10/16/17            Page 11 of 18     Pageid#:
                                         6829



 statement "necessarily requires evidence of the existence of the federal investigation in

 Maryland and the potential effects of [the employee's] statement on that investigation").

        In order to submit Counts Three Throught Eight to the jury, the government was

 required to present evidence that Dove and Brown engaged in objective, physical acts

 showing that they committed the lnkJunkeez robbery and the O.J. shooting "for the
                                                                             -
 purpose of gaining entrance to or maintaining or increasing position in an enterprise," and

 those the effect of those objective, physical acts were feltin the Western District of Virginia.

 18 U.S.C. § 1959(a); Umafia, 750 F.3d at 335.

                                               III.

        While the defendant in Umafia engaged in gang activity in the district where the trial

 was held directly related to the violent crimes committed elsewhere, no similar evidence was

 presented in this case. First, there was no evidence that anyone, including Dove and Brown,

 engaged in any conduct in the Western District of Virginia related to the Norfolk street

 crimes. Second, no evidence was presented that orders were given by gang leaders in the

 Western District of Virginia to Dove and Brown directing them to commit the violent

 crimes on the streets of Norfolk. Third, no evidence was presented that anyone, including

 Dove and Brown, communicated with gang leaders in the Western District of Virginia about

 the Norfolk street crimes.

        The government argues that a patchwork of circumstantial evidence adduced at trial

 would allow a rational trier of fact to find, by a preponderance of the evidence, an objective,

 physical act directed toward the Western District of Virginia "for the purpose of gaining

 entrance to or maintaining or increasing position in" MSB. The government's circumstantial



                                                 11
Case 7:16-cr-30026-MFU         Document 929 Filed 10/16/17             Page 12 of 18   Pageid#:
                                          6830



  evidence consists of the following facts: (1) MSB leaders were incarcerated in the Western ,

  District of Virginia and controlled its actions from there; (2) MSB members committed othe~

  crimes in the Western District of Virginia; (3) at the time of the alleged InkJunkeez robbery

  and O.J. shooting, MSB leaders commanded Dove, Brown, and Adrienne Williams, a paid

 government informant and MSB member, to stay together; (4) Brown commented that he

  made Dove participate in the O.J. shooting; and (5) Brown received a call from Nicholas

 Johnson, an MSB member in the Western District of Virginia, shortly after the O.J.

  shooting. The court has considered the evidence in the light most favorable to the

 government and concludes that the evidence does not support a finding of an objective,

  physical act related to the charged violent crimes that either took place in the Western

 District of Virginia or the effects of which were felt in this district.

                                                  A.

         First, the government points to evidence that the two highest ranking members of

 MSB in Virginia, Hassan Hubbert and Larry Boone, were both incarcerated in state prisons

 in the Western District of Virginia at the time of the lnkJunkeez robbery and O.J. shooting.

         While that is true, there was no evidence that Hubbert, Boone, or other gang leaders

 in the Western District of Virginia had any involvement in the robbery and shooting that

  occurred on the streets of Norfolk. No evidence was introduced to suggest that gang leaders

 in the Western District ordered these violent acts, approved of these violent acts, or were

  even informed of these violent acts.

         Indeed, the government's principal witness, infob.nant Adrienne Williams, testified

  that although she was the mouthpiece on the street of incarcerated MSB gang leader Larry



                                                  12
Case 7:16-cr-30026-MFU         Document 929 Filed 10/16/17            Page 13 of 18      Pageid#:
                                          6831



 Boone, she did not tell Boone or other gang members about the InkJunkeez robbery or the

 0.]. shooting. In short, in the absence of any evidence tying the Norfolk street crimes to

 gang leaders incarcerated in state prisons in the Western District of Virginia, the mere fact of

 their incarceration here does not provide a rational trier of fact with any basis to link the

 Norfolk street crimes to this district.

                                                 B.
        Second, while evidence was presented that other gang members, such as James

 Bumbry and Nicholas Johnson, engaged in other crimes in the Western District of Virginia,

 such as selling drugs in Roanoke or broadcasting a hit into a state prison in this district,

 evidence of these wholly separate crimes does not constitute an objective, physical act

 linking the Norfolk street crimes to this district.

                                                 c.
        The government presented evidence that MSB leaders in New York commanded that

 Dove, Brown, and Williams stay together at all times. The government claims that "[i]twas

 understood that if they were not together and they got caught by leadership, they would be

 violated." The government also claims that the jury could infer "that they would be involved

 in criminal activity together during this period of time." The government explains that

 Shawn Smith, a high-ranking MSB member based in New York, learned about Brown from

 Willie Borroughs, another high-ranking MSB member based in New York. Smith testified

 that Brown was somebody new in control on the streets of Virginia and that he "put work

 in," meaning that he committed acts of violence or got money for MSB. United States' Resp.

 ProofVenue, ECF No. 850, at 6 n.S.



                                                 13
Case 7:16-cr-30026-MFU                Document 929 Filed 10/16/17                      Page 14 of 18           Pageid#:
                                                 6832



          Even in the light most favorable to the government, however, this evidence does not

 support venue for the Norfolk street crimes in this district. Throughout the government's

 argument on this point, one fact stands out: The command for Dove, Brown, and Williams

 to stay together and the information about Brown all came from New York, not the Western

 District of Virginia. Williams testified that the command to stay together originated with

 defendant Michael Jones, who was based in Brooklyn. The information Smith learned about

 Brown came from Borroughs, who was also located in New York. Even assuming that the

 command to stay together meant that Dove and Brown were to commit crimes, nothing

 about this command from New York implicates the Western District ofVirginia. 6

                                                            D.
          The government points to a statement made by Brown that he "probably made him

  [Dove]" participate in the shooting of O.J. Id. at 5. To support venue, the government

 suggests that since Brown outranked Dove at the time of the shooting, "Dove would have

 been required to follow Brown's instructions" or be subject to a violation for not following

 gang rules. Id.

          Again, the problem with this evidence is that it provides no nexus to the Western

 District of Virginia. To be sure, Brown's statement suggests that he coerced Dove into

 participating in the O.J. shooting, but there is no evidence that Brown's command originated

  from or was otherwise tied to the Western District of Virginia. As such, Brown's statement

 does not demonstrate that anyone in this district compelled Dove's participation in the O.J.

  shooting in Norfolk.

 6 At oral argument, the government argued that punishment for violating this command would have come from gang

 leaders incarcerated in the Western District of Virginia. This argument is entirely speculative, as no such evidence was
 adduced at trial.


                                                             14
Case 7:16-cr-30026-MFU        Document 929 Filed 10/16/17           Page 15 of 18      Pageid#:
                                         6833



                                                E.
        ·Finally, the government argues for venue here because Brown received a call from

  NicholasJohnson, ostensibly located in the Western District, a short time after the O.J.

  shooting. See Gov't Ex. 210. During the phone call, Brown and Johnson discuss some MSB

  affairs, including getting an MSB member out on bond. Brown also mentions that he spoke

  with Hubbert recendy. Williams, who was present in the car with Brown when he received

  the call, also commented that she needed "to speak with Boone."

         The call between Brown and Johnson is more notable for what it does not discuss

  than what it does discuss. Not once did Brown discuss the O.J. shooting with Johnson, even

  though it occurred mere hours before the call. Not once did Brown discuss the InkJunkeez

  robbery with Johnson, even thought it occurred six days before the call. Not once did

  Brown suggest to J oh~son that Brown committed any acts of theft or violence to impress

  leaders ofMSB incarcerated in the Western District of Virginia. Similarly, while Wj.lliams

  stated she needed to speak with Boone during the call, she testified that she never actually

  spoke with Boone about the Ink Junkeez robbery or the O.J. shooting.

         Again, what is lacking from this evidence is any link between the Norfolk street

  crimes and the Western District ofVirginia. Brown and Johnson did not discuss the O.J.

  shooting shordy after it occurred, and there was no evidence presented that Brown,

  Williams, or anyone else told gang leaders in the Western District of the Norfolk street

  crimes to boost Dove and Brown's position in the gang.




                                                15
Case 7:16-cr-30026-MFU         Document 929 Filed 10/16/17             Page 16 of 18       Pageid#:
                                          6834



                                                  F.

         Even when considered together, the government's patchwork of circumstantial

 evidence does not support venue in this district for the VICAR counts. The evidence is

 simply insufficient to establish any link between the Norfolk street crimes constituting the

 VICAR counts and the Westerri District of Virginia. While there is evidence of other crimes

 committed by other gang members in the Western District of Virginia, nothing links those

 crimes to the Norfolk street crimes charged in the VICAR counts. There is evidence that

 Virginia MSB gang members were incarcerated in the Western District of Virginia, but there

 is no evidence that those leaders authorized, condoned, or even knew al:Jout the street crimes

 in Norfolk. Most importantly, even considering all of the evidence together, no evidence

  suggested that Dove and Brown committed the Norfolk street crimes to impress gang

 leaders incarcerated in this district. Under this set of facts, no rational trier of fact could find

  an objective, physical act that took place in the Western District of Virginia, or the effects of

  any such act that were felt in this district, with respect to the street crimes in Norfolk

  charged as VICAR offenses.

                                                 IV.

         While the Fourth Circuit has not spoken on whether a defendant can be retried when

  venue is lacking, other courts have "repeatedly held that a dismissal for lack of venue after

  jeopardy has attached does not barre-prosecution of that offense." United States v. Hart-

  Williams, 967 F. Supp. 73,76 (E.D.N.Y. 1997); see also United States v. Brunty, 701 F.2d

  1375, 1380 n.12 (11th Cit. 1983) ("[I]f such a motion [i.e., a Rule 29 motion] were granted




                                                  16
Case 7:16-cr-30026-MFU         Document 929 Filed 10/16/17            Page 17 of 18      Pageid#:
                                          6835



  solely due to improper venue, the government would not be prevented from retrying the

  case in a proper district."), cert. denied, 464 U.S. 848 (1983).

         Although the grant of a Rule 29 motion on venue is couched in terms of "acquittal,"

  venue "is a question of procedure, more than anything else, and it does not either prove or

  disprove the guilt of the accused." Wilkett v. United States, 655 F.2d 1007, 1011 (10th Cir.

  1981); see also 6 Wayne R. LaFave et al., Criminal Procedure§ 25.3(a) (3d ed. 2012) ("[A]

  trial court's ruling that the prosecution's case-in-chief failed to establish venue, though

  framed as a judgment of acquittal, does not preclude retrial because venue is an element

  'more procedural than substantive' which does not go to culpability."). Because venue does

  not implicate the guilt or innocence of defendant, "the dismissal cannot be considered an

  acquittal and so is not shielded by the double jeopardy clause." United States v. Kaytso, 868

  F.2d 1020, 1021 (9th Cir. 1988). With this in mind, the court grants the Rule 29 motions

  without prejudice, and the government may, in its discretion, reprosecute the VICAR
                                                                                   J


  charges in a district where venue is proper.

                                                  v.
         The government presented no direct evidence linking the Norfolk street crimes at

  issue in the VICAR counts with the Western District of Virginia. In the light most favorable

  to the government, the hints of circumstantial evidence as to venue, taken together, would

  not lead a rational trier of fact to conclude that venue for the VICAR counts existed in the

  Western District of Virginia. For this reason, Counts Three through Eight of the

  superseding indictment are DISMISSED WITHOUT PREJUDICE.




                                                  17
Case 7:16-cr-30026-MFU      Document 929 Filed 10/16/17          Page 18 of 18     Pageid#:
                                       6836



        An appropriate' Order will be entered.

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                                       Michael F. Urbans~
                                            United States.Disttic!Judge-   · ---




                                                 18
